IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION

GRAMERCY INSURANCE COMPANY, )

)

Piaintiff. )

)
v. ) Case No. 3:12-0509
) Chief Judge Haynes

EXPEDITOR’S EXPRESS, INC., et al., )

)

Defendants. )

0 R D E R

Before the Court is Plaintiff’ s motion for judgment on the pleadings (Docket Entry No. 30). Plaintiff
contends that the trucker’s policy issued by Gramercy Insurance Company to Expeditor’s Express, Inc. does
not provide coverage to EXpeditor’s Express, Inc. or any other party for the claims presented by Shirley A.
BroWn, Administrator of the Estate of Donald D. UnderWood, in the action arising out of a vehicular
accident Gramercy Insurance Company also asserts that its policy does not provide coverage for claims
against Expeditor’ s Express, Inc. and others arising out of the accident and the death oer. Underwood. To
date, none of the Defendants has filed a response Within the time provided that under Local Rule 7.0 l (b) can
be construed as not opposing this motion. Thus, the Plaintiff’ s motion for judgment on the pleadings (Docket
Entry No. 30) is GRANTED and this Judgment is AWARDED to Plaintiff.

This is the Final Order in this action.

lt is so ORDERED.

ENTERED this the /Y§;y of July, 2013.

Q\MW
WILLIAM J (H §YN§§/JR

Chief Judge
United States District Court

Case 3:12-cv-00509 Document 32 Filed 07/01/13 Page 1 of 1 Page|D #: 351

